     Case 1:21-cr-10045-ADB    Document 139   Filed 02/23/23   Page 1 of 8
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 1                            UNITED STATES DISTRICT COURT
 2                             DISTRICT OF MASSACHUSETTS
 3      _______________________________
 4      UNITED STATES OF AMERICA,
 5                              Plaintiff,           Criminal Action
                                                     No. 21-cr-10045-ADB
 6      v.
                                                     September 12, 2022
 7      PEPO HERD EL,
 8                          Defendant.                Pages 1 to 8
        _______________________________
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13                TRANSCRIPT OF STATUS CONFERENCE VIA TELEPHONE
                    BEFORE THE HONORABLE ALLISON D. BURROUGHS
14                        UNITED STATES DISTRICT COURT
                         JOHN J. MOAKLEY U.S. COURTHOUSE
15                              ONE COURTHOUSE WAY
                           BOSTON, MASSACHUSETTS 02210
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22                                JOAN M. DALY, RMR, CRR
                                  Official Court Reporter
23                            John J. Moakley U.S. Courthouse
                                One Courthouse Way, Room 5507
24                              Boston, Massachusetts 02210
                                   joanmdaly62@gmail.com
25
     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 2 of 8
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 1      APPEARANCES:
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        FOR THE GOVERNMENT:
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     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 3 of 8
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 1                              PROCEEDINGS
 2                      (The following proceedings were held via
 3      telephone before the Honorable Allison D. Burroughs, United
 4      States Magistrate Judge, United States District Court,
 5      District of Massachusetts, on September 12, 2022.)
 6                  THE CLERK: This is criminal matter 21-10045,
 7      United States versus Pepo Herd El. Will counsel identify
 8      yourselves for the record.
 9                  MS. BECK: Good morning, Your Honor. Amanda Beck
10      for the United States and Ben Tolkoff as well.
11                  MS. OLSON: Good morning, Your Honor. Julie-Ann
12      Olson for defendant Pepo Herd El.
13                  THE COURT: We're on for a status conference today.
14      I've read the status reports from the government, and I've
15      read the competency report as well. I see the government's
16      intention is to have him forcibly medicated.
17                  MS. BECK: Yes, Your Honor.
18                  THE COURT: Ms. Olson, what is your position?
19                  MR. NAGLE: I have not yet connected with Mr. Herd
20      El about it. I've sent him the report. We've tried to speak
21      in person. As Your Honor recalls, Mr. Herd El's position is
22      that I don't represent him. I do expect, however, without
23      having directly heard from him that he will be very opposed
24      to forced medication. That's been his prior position. I
25      just need a little more time to communicate with him about
     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 4 of 8
                                                                            4




 1      what that might mean and what his options are.
 2                  THE COURT: If he's not forcibly medicated, he's
 3      going to be held. Does he get that? I know I'm sure it's
 4      hard to communicate with him. Does he have any appreciation
 5      of that?
 6                  MS. OLSON: I wouldn't be in a position to
 7      accurately say, Your Honor. It's a difficult position. I
 8      think he understands that.
 9                  THE COURT: All right. I haven't done a ton of
10      cases in this posture. As far as I know there's not other
11      options. He's either restored to competency or held. Am I
12      right, Ms. Beck?
13                  MS. BECK: Your Honor, I confess I haven't done one
14      of these cases before. That's my understanding at the
15      moment. I need to do more research on how we proceed with a
16      Sel hearing, if there are any other options. The
17      government's position is the defendant needs to be detained
18      until he's convicted or feeling better at a minimum.
19                  THE COURT: Nicely said, Ms. Beck.
20                  MS. OLSON: Your Honor, Julie Olson again. I do
21      believe that he's entitled to a hearing on release when not
22      competent because the issue of whether he's a danger to
23      himself or others at some point, but I think we're just not
24      there yet anyway. I need to speak with him and find out his
25      position. Of course if the government will --
     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 5 of 8
                                                                            5




 1                  THE COURT: I'm not going to totally prejudge it,
 2      but I have read everything that's been filed in this case so
 3      far, and the charge is felon in possession of a firearm. I'm
 4      sure you all know I take a pretty hard line on the firearm
 5      offenses because of the risk they pose to the public. I
 6      won't prejudge at this point. You may tell him there's no
 7      reason to be optimistic.
 8                  MS. OLSON: Understood.
 9                  THE COURT: Do you want them to hold on filing the
10      motion? Do you want them to file the motion and you want
11      some time? Do you want to talk about it first?
12                  MS. OLSON: I'd like to talk to him about it first
13      and then go from there. I don't think I need more than 30
14      days to try to coordinate a call, presuming he cooperates and
15      he's willing to speak with me.
16                  THE COURT: I'm not going to put it in a stay
17      order, but we'll effectively stay the case for 30 days.
18      We'll have a status in 30 days. If he hasn't been amenable
19      to being medicated at that point, the government will file
20      its motion. Does that make sense?
21                  MS. BECK: This is Amanda Beck, yes. Thank you
22      Your Honor.
23                  THE COURT: Karen, can we give them a date in 30
24      days?
25                  THE CLERK: How about 9 a.m. on October 13?
     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 6 of 8
                                                                            6




 1                  MS. BECK: I should be on trial that week. So I
 2      should say that's not good. Right now it's expected to go.
 3                  THE COURT: I'm on trial that week, too. That's
 4      why I'm scheduling these things for 9. I schedule around my
 5      trial. Do you have a 9 to 1 schedule?
 6                  MS. BECK: It's with Judge Casper. So I don't
 7      know.
 8                  THE COURT: How about the afternoon slot or a
 9      different week. Either one is fine with me.
10                  THE CLERK: How about 9 a.m. on the 20th?
11                  MS. OLSON: I can do that.
12                  MS. BECK: I can do that for the government.
13                  THE COURT: So we'll go with that. You two should
14      keep thinking or three should be talking amongst yourselves.
15      If he's adamant against forcible medication, the government
16      can go ahead and file its motion in advance of the status.
17      Just work it out between yourselves and we'll have an update
18      on the 20th. Okay?
19                  MS. BECK: Thank you.
20                  MS. OLSON: Thank you, Your Honor.
21                  THE COURT: Anything else for today?
22                  MR. TOLKOFF: Your Honor, Ben Tolkoff here. Just
23      for the record I'd ask that the time between today and the
24      20th of October be excluded. It's statutorily excluded
25      because Mr. Herd El is currently not competent. I wanted to
     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 7 of 8
                                                                            7




 1      make a record of it.
 2                  THE COURT: Karen, let's exclude the time to the
 3      20th, please.
 4                  THE CLERK: Okay.
 5                  THE COURT: I take it you're not opposed to that?
 6      It is statutorily required.
 7                  MS. OLSON: Because it's statutorily required.
 8      Mr. Herd El is opposed, but I understand the statutory
 9      requirement.
10                  THE COURT: Okay. Karen, let's go ahead and
11      exclude the time.
12                  THE CLERK: Okay.
13                  THE COURT: Okay. Thanks, everyone. Case is
14      recessed.
15                  (Court recessed at 9:10 a.m.)
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     Case 1:21-cr-10045-ADB   Document 139   Filed 02/23/23   Page 8 of 8
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 2                                   CERTIFICATION
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 4                  I certify that the foregoing is a correct
 5      transcript of the record of proceedings in the above-entitled
 6      matter to the best of my skill and ability.
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10      /s/ Joan M. Daly                          February 17, 2023
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12      ______________________                    ____________________
13      Joan M. Daly, RMR, CRR                    Date
        Official Court Reporter
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